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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

IN RE:                                                |
                                                      |
BOBBY DAMON INGRAM,                                   |        CHAPTER 7
                                                      |
         DEBTOR                                       |        CASE NO. 22-50570-SMS
                                                      |

                                         NOTICE OF HEARING

        PLEASE TAKE NOTICE that Bobby Damon Ingram has filed a Motion to Convert to Chapter
13 with the Court seeking an Order converting this Chapter 7 Case to a Chapter 13 Case.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing on
the Motion at the following toll-free number: 833-568-8864 Meeting ID 161 179 4270 at 10:15 AM on
June 8, 2022 in Courtroom 1201, Russell Federal Building, 75 Ted Turner Dr. SW, Atlanta, Georgia
30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video conference,
or in person, either on the date set forth above or on some other day, all as determined by the Court in
connection with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s
webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the
top of the webpage for this Court, www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the relief sought
in these pleadings or if you want the court to consider your views, then you and/or your attorney must attend
the hearing. You may also file a written response to the pleading with the Clerk at the address stated below,
but you are not required to do so. If you file a written response, you must attach a certificate stating when,
how and on whom (including addresses) you served the response. Mail or deliver your response so that it
is received by the Clerk at least two business days before the hearing. The address of the Clerk's Office is
Clerk, U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also
mail a copy of your response to the undersigned at the address stated below.

         This April 27, 2022
                                                      Respectfully Submitted,
                                                      JEFF FIELD & ASSOCIATES

                                                      /s/ Christopher J. Sleeper
                                                       ____________________________________
                                                       CHRISTOPHER J. SLEEPER
                                                       Attorney for Debtor
                                                       State Bar No. 700884
                                                       342 North Clarendon Avenue
                                                       Scottdale, GA 30079
                                                       404-499- 2700
                                                       contactus@fieldlawoffice.com
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                            |
                                                  |
BOBBY DAMON INGRAM,                               |      CHAPTER 7
                                                  |
         DEBTOR                                   |      CASE NO. 22-50570-SMS
                                                  |

                         MOTION TO CONVERT TO CHAPTER 13

         Comes now the Debtor, Bobby Damon Ingram, by and through the undersigned counsel,

and files this Motion and shows to this Honorable Court the following:

                                                 1.

         This case was commenced on January 21, 2022 by the filing of a Voluntary Petition in

Bankruptcy for relief under Title 11 Chapter 13 of the United States Code.

                                                 2.

         Jurisdiction is appropriate pursuant to 28 U.S.C. Section 1334; 28 U.S.C. Section 151 et

seq; and, 11 U.S.C. Section 151 et seq. Venue is appropriate pursuant to 28 U.S.C. Section 1409.

This contested matter is core proceeding as defined in 28 U.S.C. Section 157(b)(2)(A).

                                                 3.

         11 U.S.C. §706(a) provides that “The debtor may convert a case under this chapter to a

case under chapter 11, 12, or 13 of this title at any time, if the case has not been converted under

section 1112, 1208, or 1307 of this title. Any waiver of the right to convert a case under this

subsection is unenforceable.” In enacting §706(a), “Congress gave ‘honest but unfortunate

debtor[s] the chance to repay their debts should they acquire the means to do so.” Marrama v.

Citizens Bank of Massachusetts, 549 U.S. 365 (2007) (internal citation omitted).
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                                                 4.

       Conversion to Chapter 13 should only be denied if the party opposing conversion meets its

burden of showing that one of the conditions enumerated in 11 § 1307(c) is present.

                                                 5.

       Since filing the Chapter 7 case, there have been a couple of changes to his financial

situation that will make repayment of claims feasible. First, the 2020 Cadillac Escalade was totaled

in an auto accident two weeks ago and the loan will be fully satisfied by insurance proceeds. Given

that the Escalade had a very high monthly payment, this will free up some money for Debtor’s

plan payment. Additionally, with the economy reopening, especially in the transportation sector,

Debtor’s transportation business is generating significantly more income, approaching pre-

pandemic levels. Therefore, Debtor believes that he will be able to propose a 100% repayment of

debts depending on whether business debts file claims.



       WHEREFORE, Debtor prays that this Court:

       A.      Hold a hearing, if necessary, to inquire into this matter;

       B.      Convert this Case to a Chapter 13;

       C.      Appoint a Chapter 13 Trustee to administer the estate;

       D.      Grant such other and further relief as this Court deems just and equitable.

       E.

       Dated: April 27, 2022                          Respectfully Submitted,

                                                  JEFF FIELD & ASSOCIATES

                                                 /s/ Christopher J. Sleeper
                                                  ____________________________________
                                                  CHRISTOPHER J. SLEEPER
                                                  Attorney for Debtor
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

IN RE:                                            |
                                                  |
BOBBY DAMON INGRAM,                               |       CHAPTER 7
                                                  |
         DEBTOR                                   |       CASE NO. 22-50570-SMS
                                                  |

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day mailed a true and exact copy of the foregoing “Notice

of Hearing” and “Motion to Convert to Chapter 13” to the following:

S. Gregory Hays, Chapter 13 Trustee               Electronically

Bobby Damon Ingram
1404 Montclair Ct SE
Smyrna, GA 30080

Creditors Reflected on the
Attached Mailing Matrix

by electronic service upon filing with the Court or by placing a copy of same in a properly

addressed envelope with sufficient postage affixed thereon to insure delivery and depositing same

in the United States Mail.

         Dated: April 27, 2022

                                                  Respectfully Submitted,
                                                  JEFF FIELD & ASSOCIATES

                                                  /s/ Christopher J. Sleeper
                                                   ____________________________________
                                                   CHRISTOPHER J. SLEEPER
                                                   Attorney for Debtor
                                                   State Bar No. 700884
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